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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


TIVO, INC.,

              Plaintiff,

       v.
                                                      CASE NO. 2:15-CV-1503-JRG
SAMSUNG ELECTRONICS CO., LTD.,
and SAMSUNG ELECTRONICS
AMERICA, INC.

              Defendants.


SAMSUNG ELECTRONICS CO., LTD.,
and SAMSUNG ELECTRONICS
AMERICA, INC.,

              Counter Plaintiffs,

       v.

TIVO, INC.

              Counterclaim Defendant.



                                           ORDER

       Before the Court is Broadcom Corporation’s Unopposed Motion to Intervene. (Dkt. No.

93.) Having considered the Motion and the related briefing, the Court finds that the Motion (Dkt.

No. 93) should be and is hereby GRANTED.

       Broadcom is permitted to intervene in this matter for the limited purpose of responding to

TiVo’s Emergency Motion to Clarify Discovery Obligations in Light of Prior Protective Order

(Dkt. No. 75), which is set for a hearing on July 11, 2016 at 10:00 a.m. Broadcom shall not be

deemed to have consented to the jurisdiction of the Court for any other purpose, including Rule 45

subpoenas.
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        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 6th day of July, 2016.




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                                                RODNEY GILSTRAP
                                                UNITED STATES DISTRICT JUDGE




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